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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,          )    CR. NO. 19-00024 DKW
                                   )
                 Plaintiff,        )    UNITED STATES’ SENTENCING
                                   )    STATEMENT; CERTIFICATE OF
     vs.                           )    SERVICE
                                   )
KYONGCHOL KIM,                     )
 aka “Kyong Chol Kim,”             )
                                   )    Date: July 3, 2019
                 Defendant.        )    Time: 9:30 a.m.
                                   )    Judge: Hon. Derrick K. Watson




              UNITED STATES’ SENTENCING STATEMENT
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      The United States has no objections to the draft Presentence Report. The

Government reserves the right to reply to any proposed amendments,

modifications, or additional information offered by Defendant Kyongchol Kim.

            DATED: June 13, 2019, at Honolulu, Hawaii.
                                            KENJI M. PRICE
                                            United States Attorney
                                            District of Hawaii

                                            By /s/ Sara D. Ayabe
                                              SARA D. AYABE
                                              Assistant U.S. Attorney




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                             CERTIFICATE OF SERVICE

            I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following at their

last known addresses:

Served electronically through CM/ECF:

            Jin Tae Kim, Esq.
            Attorney for Defendant Kyongchol Kim
            jtkim@jtkimlaw.com

Served via email:

            Darsie J.T. Ing-Dodson, United States Probation Officer
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            DATED: June 13, 2019, at Honolulu, Hawaii.



                                             /s/ Rowena Kang
                                             Rowena Kang
                                             Legal Assistant
                                             U.S. Attorney’s Office
                                             District of Hawaii
